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                                                                              US DISTRICT COURT E.D.N.Y.

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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK                                               BROOKLYN OFFICE


   In re PAYMENT CARD INTERCHANGE                          :
   FEE AND MERCHANT DISCOUNT                               :        No.05-MD-01720(MKB)(JO)
   ANTITRUST LITIGATION                                    :


        STATEMENT OF OBJECTIONS OF CLASS MEMBER SOUTHERN OIL CO.,INC.
           Southern Oil Co., Inc.(hereinafter "Company")accepted Visa and Mastercard transaction
   cards between 2004 and the present date. Company is a member of the Rule 23(b)(3) settlement
   class in this case, and it has not engaged in any other settlement of its claims against Visa and/or
    Mastercard. Company hereby submits its objections to the proposed settlement preliminarily
    approved by the Court in January ofthis year.
           Company is located at 40701 Alabama Highway 17, Emelle, Alabama 35459. Company
    is a petroleum marketer engaged in the wholesale and retail sale of branded motor fuels. Since
    1987 it has accepted Visa and Mastercard transaction cards at retail service station and convenience
    store locations. Motor fuels at these locations have been sold under the Citgo, Pure, MaraUion,
    Shell, Conoco,Phillips 66, Exxon,Chevron/Texaco and BP brands since 2004,and the credit card
    transactions at each location were processed by the applicable branded supplier.
            Company is concerned that the Court will concui- in the arguments of Defendants that
    certain major oil company branded suppliers are entitled to file claims against the settlement fund
    for transactions at retail locations where Company accepted the applicable Visa or Mastercard
    transaction cards and paid the interchange fees. Company understands that the Court has indicated
    tliat class counsel cannot represent both the branded suppliers and branded marketers, like
    Company, because only one of the two groups is entitled to settlement funds attributable to
    Company's retail locations. None of the class representatives were branded marketers, and
    branded marketer interests were not represented when the settlement was negotiated. Nor are they
    adequately represented now by a conflicted class counsel who are incapable of asserting branded
    marketer interests when they conflict with the interests of major oil companies.
            As of now. Company is totally in the dark as to whether, having accepted tlie cards and
    paid the interchange fees, it is part of the settlement class, whether it is entitled to a full or partial
    recovery, or whether any mechanism is in place to sort all of this out. Nothing in the Class Notice
    states whether Company or its branded supplier(whose fuel Company sells) have a right lo recover
    for transactions at these locations. In short. Company is concerned that it is being depnved of its
    legal right to fully participate in tlie settlement.
           In addition to not knowing what recovery Company may be entitled to as part of tlie class
    settlement, we do not believe that proper efforts are being made to notify branded marketers, like
    Company,so that they can object to the settlement. Company is aware that a Class Notice has gone
    out but it was not mailed a copy by the Claims Administrator. The names and addresses of branded
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    petroleum marketers, like Company, can be obtained by the Claims Administrator from the
    branded suppliers.

           Branded marketers should be informed now whether a procedural mechanism will be put
    in place to determine whether, and to what extent, branded marketers will participate in the
    settlement, what evidence they need to present, and whether there will be procedural hurdles they
    need to overcome to claim their rights as class members. Unless and until these issues are
    addressed and properly resolved by the Court, Company respectfiilly objects to the class
    settlement.


                                                Respectfully submitted,

                                                Southem Oil Co.,Inc.




                                                President
